
USCA1 Opinion

	




        June 8, 1992            [NOT FOR PUBLICATION]                                 ____________________        No. 92-1492                             ALFREDO HUALDE-REDIN, MARIA                              SUSANA COSTA AND THE LEGAL                                 CONJUGAL PARTNERSHIP                          CONSTITUTED BETWEEN BOTH PARTIES,                               Plaintiffs, Appellants,                                          v.                          ISMAEL BETANCOURT, SUPERINTENDENT                                  OF POLICE, ET AL.,                                Defendants, Appellees.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                  [Hon. Carmen Consuelo Cerezo, U.S. District Judge]                                                ___________________                                 ____________________                                        Before                                 Breyer, Chief Judge,                                         ___________                           Campbell, Senior Circuit Judge,                                     ____________________                               and Cyr, Circuit Judge.                                        _____________                                 ____________________            Alfredo Hualde-Redin on brief pro se.            ____________________            Maria Susana Costa on brief pro se.            __________________                                 ____________________                                 ____________________                      Per Curiam.  We read  plaintiffs' rather conclusory                      __________            and rambling allegations, along  with the documents they have            submitted, to claim  the following.  Plaintiffs  Mr. and Mrs.            Hualde, citizens of Argentina,  owned a boat.  This  boat was            "stolen"  from them.   Defendant  Varaderos de  Fajardo, Inc.            filed an action in  Puerto Rico court against Mr.  Hualde for            collection  of  money  claimed  owed.   Plaintiffs  told  the            superior  court  judge that  defendant Varaderos  de Fajardo,            Inc. was not  entitled to  the boat, but  a default  judgment            entered  against  Mr. Hualde,  and the  boat was  attached in            execution of the judgment.  Mrs.  Hualde, a part owner of the            boat,  was  not  a  party   to  the  superior  court  action.            Plaintiffs  sought  to have  criminal  proceedings instituted            based  on the  "theft" of  their sailboat,  but to  no avail.            Plaintiffs then instituted  the present  civil rights  action            against the superintendent of police, various police officers            who  had refused  to  assist with  plaintiffs' complaints  of            theft, Varaderos  de Fajardo, Inc., the  superior court judge            who entered the default  judgment, and various other persons.            They   claimed   that   the  courts,   police,   and   others            discriminated against  them and denied them  equal protection            because of their nationality and that they had been  deprived            of their  property (boat) without  due process.   They sought            damages, return of their boat, and declaratory and injunctive            relief staying the confiscation of their boat.                                         -2-                      We agree with  the district court that  plaintiffs'            action  is in effect a  collateral attack on  the state court            judgment which  authorized an execution  on plaintiffs' boat.            Lower    federal   courts   lack   jurisdiction   to   review            constitutional   or  other  challenges   to  such  judgments.            District of  Columbia Court of  Appeals v. Feldman,  460 U.S.            _______________________________________    _______            462, 485-86 (1983);  Rooker v. Fidelity  Trust Co., 263  U.S.                                 ______    ___________________            413 (1923); Lancellotti  v. Fay,  909 F.2d 15,  17 (1st  Cir.                        ___________     ___            1990).                      Affirmed.                      ________                                         -3-

